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Management Services, Inc.

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 In re:                                                §
                                                       §    Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                       §    Case No. 19-34054-sgj11
                                Debtor.                §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                       §
                                Plaintiff,             §    Adversary Proceeding No.
                                                       §
 vs.                                                   §    21-03006-sgj
                                                       §
 HIGHLAND CAPITAL MANAGEMENT                           §
 SERVICES, INC., JAMES DONDERO, NANCY                  §
 DONDERO, AND THE DUGABOY                              §
 INVESTMENT TRUST,                                     §
                                                       §
                                Defendants.            §


 DEFENDANT HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.’S MOTION
      TO EXTEND EXPERT DISCLOSURE AND DISCOVERY DEADLINES

TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COMES NOW, Highland Capital Management Services, Inc. (“HCMS”), one of the

Defendants in the above styled and numbered Adversary Proceeding initiated by Highland Capital

Management, L.P. as Plaintiff (the “Debtor”), and files this, its Motion to Extend Expert Disclosure

and Discovery Deadlines (the “Motion”). HCMS respectfully shows as follows:


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                                    I.      RELIEF REQUESTED

         1.       On October 29, 2021, NexPoint Advisors, L.P. (“NexPoint”) filed its Motion to

Extend Expert Disclosure and Discovery Deadlines with several exhibits attached (the “NexPoint

Motion”) in Case No. 19-34054-sgj11, Adversary Proceeding No. 21-03005-sgj, collectively

attached hereto as “Exhibit A.”1 HCRE and HCMS incorporate the context of the NexPoint

Motion as if fully set forth herein.

         2.       As described in the NexPoint Motion, in the NexPoint, HCMS and HCRE Notes

cases there is a similar issue regarding whether the Debtor, Highland Capital Management, as the

servicer for NexPoint, HCMS and HCRE, failed to make term loan payments at the end of 2020,

enabling the Debtor to contend that the term loans were accelerated. As described in the Rukavina

Declaration annexed to the NexPoint Motion, unexpected testimony just last week gave rise to the

need to investigate whether expert testimony on the duties of a servicer like Highland Capital

Management would be useful.

         3.       As a result of the timing, it was not possible to retain an expert who could provide

a report by the existing deadline, today. HCRE and HCMS therefore seek an extension of time to

potentially obtain an expert report from Mr. Steven Pully.               HCRE and HCMS would act

expeditiously to minimize any impact on the schedule.

         4.       For generally the same reasons set forth in the NexPoint Motion, HCMS requests

this Court grant it the same relief requested by NexPoint.




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 Motion to Extend Expert Disclosure and Discovery Deadlines, Case 21-03005-sgj [Doc 86]; Declaration of Davor
Rukavina, Case 21-03005-sgj [Doc 86-1]; Exhibit A, Case 21-03005-sgj [Doc 86-2]; Exhibit B, Case 21-03005-sgj
[Doc 86-3]; Exhibit C, Case 21-03005-sgj [Doc 86-4].

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                                       II.     PRAYER

         WHEREFORE, PREMISES CONSIDERED, HCMS respectfully requests this Court enter

an order (i) granting this Motion; (ii) modifying the Scheduling Order to extend the deadline to

designate experts and serve expert reports through December 13, 2021; (iii) modifying the

Scheduling Order accordingly for the potential designation of rebuttal experts and service of

rebuttal expert reports, and extending expert discovery; and (iv) granting HCMS such other and

further relief as may be proper.


         RESPECTUFLLY SUBMITTED this 29th day of October, 2021.

                                                    STINSON LLP

                                                    /s/ Deborah Deitsch-Perez
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                                                    ATTORNEYS FOR DEFENDANT
                                                    HIGHLAND CAPITAL MANAGEMENT
                                                    SERVICES, INC.



                                CERTIFICATE OF CONFERENCE

       Counsel for NexPoint requested counsel for the Debtor to agree to the extension and within
minutes, the Debtor declined. For that reason, counsel for HCRE and HCMS concluded further
conferencing would be futile.

                                                    /s/ Deborah Deitsch-Perez
                                                    Deborah Deitsch-Perez




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                                CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on October 29, 2021, a true and correct copy of this
document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                    /s/ Deborah Deitsch-Perez
                                                    Deborah Deitsch-Perez




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